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                                                                       Lieff Cabraser Heimann & Bernstein, LLP
                                                                                   275 Battery Street, 29th Floor
                                                                                 San Francisco, CA 94111-3339
                                                                                                t 415.956.1000
                                                                                                f 415.956.1008




                                                                                          Kelly M. Dermody
                                           March 2, 2023                                            Partner
                                                                                        kdermody@lchb.com
VIA CM/ECF

The Honorable Analisa Torres
United States District Court for the
 Southern District of New York
500 Pearl Street
New York, NY 10017
        RE:     Chen-Oster, et al. v. Goldman, Sachs & Co., No. 10 Civ. 6950 (AT) (RWL)
Dear Judge Torres:
         Plaintiffs respond briefly to Goldman Sachs’s letter seeking to redact from the public
docket information contained within Ex. C to its opposition to Plaintiffs’ request for records
regarding Goldman Sachs’s trial witnesses. ECF No. 1429. Goldman Sachs describes Exhibit C
as a “worker profile information form[].” Id. Contrary to its suggestion, Goldman Sachs did not
share Exhibit C with Plaintiffs or meaningfully describe the document’s content ahead of its
filing last night. Plaintiffs did not—and indeed could not—take a position on Goldman Sachs’s
redaction request. Having now seen Exhibit C, Plaintiffs do not object to the redactions Goldman
Sachs has made from the public docket. However, Plaintiffs note for the Court that while
Goldman Sachs seeks leave only to redact “the employee’s name and email address,” Exhibit C
actually contains many more redactions, including redactions that extend beyond those
permissible without a Court order. See ECF No. 1431-3.
         Additionally, Plaintiffs are concerned by the significant redactions Goldman Sachs has
made from the information forms shared even confidentially with Plaintiffs. To be clear, these
forms are no substitute for complete personnel files, which were produced for comparators, and
contain, inter alia, performance reviews and internal complaints. See ECF No. 1425 (detailing
Plaintiffs’ need for this information, and the lack of burden to Goldman Sachs in producing it).
However, to the extent the information forms may substitute for portions of a personnel file
documenting employment dates, promotions, leaves of absences, etc., Goldman Sachs should be
ordered to reproduce the forms at once without redaction, subject to the full protections of the
protective orders in this case.
                                       Respectfully submitted,




                  Kelly M. Dermody                                    Adam T. Klein




San Francisco          New York            Nashville         Munich            www.lieffcabraser.com
